       Case 1:03-cv-03346-WMN Document 44 Filed 11/10/05 Page 1 of 15




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND


PRADEEP DIXIT                        :
                                     :
v.                                   :   Civil No. WMN-03-3346
                                     :
NEW BOARD OF SCHOOL                  :
COMMISSIONERS OF THE BALTIMORE       :
CITY SCHOOL SYSTEM                   :



                                MEMORANDUM

      Before the Court is Defendant Baltimore City Board of School

Commissioners’ (BCBSC) motion for summary judgment.          Paper No.

34.   That motion is ripe for decision.       Upon a review of the

motion and the applicable case law, the Court determines that no

hearing is necessary (Local Rule 105.6) and the motion will be

granted.

I.    FACTUAL AND PROCEDURAL BACKGROUND

      Plaintiff Pradeep "Pete" Dixit was employed by Defendant

from 1976 until his termination on March 14, 2003.          At the time
of his termination Plaintiff served as Defendant’s Director of

Facilities for BCBSC.      In July 2001, Plaintiff began reporting to

Defendant’s new Chief Operating Officer (COO) Mark Smolarz.              In

the fall of 2001, Smolarz approved a $4,000 performance bonus and

a retroactive pay raise for Plaintiff.        Dixit Dep. 130-31.        In

November 2002, Plaintiff received a memorandum entitled

"Performance Evaluation Feedback."        Id. 131.   The document set

forth Smolarz’s concerns over the work performance of Plaintiff
         Case 1:03-cv-03346-WMN Document 44 Filed 11/10/05 Page 2 of 15



in reference to three specific matters.1          Compl., Ex. 3.

Plaintiff admits receipt of the document but despite its title

and the information it contained, he denies that it was a

performance evaluation.        Dixit Dep. 130-31.

     In the early 1990's, a number of Baltimore City public

schools were identified as having high levels of lead in their

water.     Dixit Dep., Ex. 22.     BCBSC hired an engineering firm to

test the schools’ water for lead (Dixit Dep., Ex. 18) and the

lead levels of many of the schools exceeded the EPA safety

standard.      Dixit Dep., Ex. 21.     The firm issued a report

identifying the water fountains with high lead levels that needed

to be disabled until corrected.         Dixit Dep., Ex. 18.     Ten years

later, in August 2002, Ruth Ann Norton, the Executive Director of

the Coalition to End Childhood Lead Poisoning, contacted

Defendant’s Chief Executive Officer (CEO) Carmen Russo,

expressing her concerns about the elevated lead levels in the

schools’ drinking fountains.         Dixit Dep., Ex. 10.     On March 8,

2003, after increased public concern surrounding the lead-in-
water problem, the Health Department began issuing citations to

city schools that were not in compliance with a February 26,

2003, Baltimore City Health Commission notice that mandated

public schools to disable all drinking fountains and replace each


     1
        The three issues discussed by Smolarz concerned the
Plaintiff’s failure to (1) follow-up on the safety of boilers
after an explosion occurring one year earlier, (2) notify Smolarz
of the State’s annual inspection of school facilities, and (3)
resolve problems the school’s officials and staff had brought to
Plaintiff’s attention. Compl., Ex. 3.

                                       2
          Case 1:03-cv-03346-WMN Document 44 Filed 11/10/05 Page 3 of 15



disabled fountain with a bottled water station and post "hand

washing only-do not drink" signs in all school lavatories.                 Dixit

Dep. 115-117. In March 2003, Mark Smolarz, Chief Operating

Officer (COO) of the Baltimore City Public School System,

terminated Plaintiff (East Indian decent) and the Health and

Safety Officer of BCBSC, Jack Elam (African American), from their

employment with the school system.           In their letters of

termination COO Smolarz stated that the terminations were in

response to their inadequate handling of the lead-in-water

crisis.      Compl., Ex. 5; Dixit Dep., Ex. 28.        Plaintiff was

replaced by Darryl Williford (African American) and Elam was

replaced by Dr. Sayid Rahimi (Iranian).           Reginald Lawrence Aff.

¶¶ 4-5.

      On August 14, 2003, Plaintiff filed a charge of

Discrimination based on race (East Asian), national origin

(Indian), and age (now 58) with the Equal Employment Opportunity

Commission (EEOC).        On August 29, 2003, the EEOC issued Plaintiff

a right to sue letter.         Plaintiff then filed suit in this Court

on November 21, 2003,2 and amended his complaint on April 27,

2004.      On November 29, 2004, this Court granted Defendant’s

motion for partial dismissal of the amended complaint.              Paper No.

23.   The only counts remaining are Plaintiff’s Title VII

disparate treatment claims as they relate to Plaintiff’s


      2
       Plaintiff alleged race, national origin, and age
discrimination in violation of Title VII of the Civil Rights Act
of 1964, the Age Discrimination in Employment Act, and 42 U.S.C.
§ 1981.

                                        3
      Case 1:03-cv-03346-WMN Document 44 Filed 11/10/05 Page 4 of 15



termination based upon his race and national origin.         Defendant

now moves for summary judgment as to Plaintiff’s remaining

counts.
II.   LEGAL STANDARD

      Summary judgment is proper if the evidence before the court,

consisting of the pleadings, depositions, answers to

interrogatories, and admissions of record, establishes that there

is no genuine issue as to any material fact and that the moving

party is entitled to judgment as a matter of law.         Fed. R. Civ.

P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).            A

party seeking summary judgment bears the initial responsibility

of informing the court of the basis of its motion and identifying

the portions of the opposing party's case which it believes

demonstrate the absence of a genuine issue of material fact.           Id.

at 323.   The non-moving party is entitled to have “all reasonable

inferences . . . drawn in its respective favor.”         Felty v.

Graves-Humphreys Co., 818 F.2d 1126, 1129 (4th Cir. 1987).

      If the movant demonstrates that there is no genuine issue of

material fact and that the movant is entitled to summary judgment

as a matter of law, the non-moving party must, in order to

withstand the motion for summary judgment, produce sufficient

evidence in the form of depositions, affidavits or other

documentation which demonstrates that a triable issue of fact

exists for trial.    Celotex, 477 U.S. at 324.      Unsupported



                                    4
           Case 1:03-cv-03346-WMN Document 44 Filed 11/10/05 Page 5 of 15



speculation is insufficient to defeat a motion for summary

judgment.        Felty, 818 F.2d at 1128 (citing Ash v. United Parcel

Serv., Inc., 800 F.2d 409, 411-12 (4th Cir. 1986)).             Furthermore,

the mere existence of some factual dispute is insufficient to

defeat a motion for summary judgment; there must be a genuine

issue of material fact.          Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 247-48 (1986).          Thus, only disputes over those facts

that might affect the outcome of the case under the governing law

are considered to be "material."             Id.

III.       DISCUSSION

       Discrimination under Title VII can be established in two

ways, through direct proof of discriminatory intent, Trans World

Airlines, Inc. v. Thurston, 469 U.S. 111 (1985), or through

indirect proof under McDonnell Douglas Corp. v. Green, 411 U.S.

792 (1973).        Plaintiff offers no direct proof of race or national

origin discrimination.3

       3
       Although Plaintiff contends that months before his
termination CEO Russo told Jimmie Jones, a school principal, of
her desire to get rid of Plaintiff (Plaintiff Interrog. 3), in
his affidavit, Jones states that he never had a conversation with
CEO Russo concerning Plaintiff. Jones Aff. ¶¶ 3-4. This is not
a dispute of material fact because even if such a statement was
made it does not reflect a discriminatory intent. Plaintiff also
contends that COO Smolarz told architect Stanley Crain that he
was going to get the "son of a bitch" Dixit. Dixit Interrog. 3.
In his affidavit Crain denies making such a statement or telling
Plaintiff that such a statement was ever made. Crain Aff. ¶¶ 4-
5. Again, this is not a dispute of material fact because even if
the statement was made it does not reflect a discriminatory
intent. See Hopkins v. Baltimore Gas & Electric Co., 77 F.3d
745, 754 (4th Cir. 1996) (holding that “Title VII was not
designed to create a federal remedy for all offensive language
and conduct in the workplace”).

                                         5
         Case 1:03-cv-03346-WMN Document 44 Filed 11/10/05 Page 6 of 15



         Plaintiff has failed to establish a prima facie case of

discriminatory discharge under the McDonnell Douglas burden

shifting framework used to prove intentional discrimination

through indirect evidence.        In order to establish a prima facie

case of racial discrimination under Title VII the Plaintiff must

show that 1) he is a member of the protected class, 2) his job

performance was satisfactory, 3) in spite of his performance, he

was fired, and that 4) following his discharge, someone outside

the protected class replaced Plaintiff.          White v. BFI Waste

Servs., LLC, 375 F.3d 288, 295 (4th Cir. 2004).           It is not

disputed that Plaintiff meets three of these requirements:                he is

of East Indian decent and is a member of a protected class, he

was discharged, and was replaced by an African American, someone

outside the protected class.         Drawing all reasonable inferences

in favor of the Plaintiff, the Court cannot reasonably conclude

that the Plaintiff was performing his job satisfactorily at the

time of his termination.

     Plaintiff supports his argument that at the time of his

termination he was performing his job satisfactorily solely with

his own testimony.       Plaintiff does not contend that he adequately

responded to the lead-in-water problem, but rather he asserts

that the problem was not his responsibility.4           Unsupported




     4
       Plaintiff attempts to support his argument that he
performed his work satisfactorily with the Deposition of Dr.
Jeffery Grotsky, who was a member of the facilities committee

                                       6
     Case 1:03-cv-03346-WMN Document 44 Filed 11/10/05 Page 7 of 15



speculation is insufficient to defeat a motion for summary

judgment.   Felty, 818 F.2d at 1129.     Even though it is entitled

"Performance Evaluation Feedback" Plaintiff denies that his

negative performance evaluation from November 8, 2002, was a

performance evaluation.    Dixit Dep. 130-131.      The first

paragraph of the document states:

       The purpose of this memo is to share with you
       several concerns the Board, the CEO and I have in
       your work performance. Specifically, there have
       been several occasions where you have failed to
       follow through on significant issues, to
       communicate vital information to me and to follow
       up on concerns and/or issues raised by other BCPSS
       staff. Further, it is expected that this memo
       will aid you in addressing these concerns.


Compl., Ex. 3.   The memorandum further discusses the Defendant’s

concerns surrounding three specific issues.       Regardless of what

the document is labeled, it clearly reflects the non-satisfactory

nature of Plaintiff’s job performance.      Plaintiff’s bald

assertion that his work was satisfactory is insufficient to

establish prong two of the prima facie case.

     In addition to the negative performance evaluation,

Defendant contends that the main impetus for Plaintiff’s

from 2001 to 2003. Grotsky Dep. 5-6. Dr. Grotsky stated that
his individual interactions with Plaintiff were "very positive"
and "very good." Grotsky Dep. 9. Dr. Grotsky, however, does not
speak to Plaintiff’s handling of the lead-in-water situation and
does not at all refute Defendant’s argument that the situation
was inadequately handled by Plaintiff. In addition, Plaintiff
attempts to use the Affidavit of John Green, the Director of
Facilities in the mid-1990's, to show that his work was
satisfactory. Green Aff. ¶ 1. Although Green does state that
Dixit received outstanding evaluations during the 1990's, the
statements of Green do not at all reflect on Plaintiff’s work
product during the time of his termination.

                                   7
     Case 1:03-cv-03346-WMN Document 44 Filed 11/10/05 Page 8 of 15



termination was his failure to adequately address the lead-in-

water problem faced by the school system.       Smolarz Dep. 68-69.

Plaintiff does not deny that there was a problem with lead in the

drinking water of the school system, nor does he deny that the

problem was not adequately addressed.       In fact, Plaintiff agrees

that some employees, in particular he mentions COO Smolarz,

should have been penalized for the school’s failure to respond to

the lead-in-water problem.     Dixit Dep. 127, 129.     While admitting

that there was a lead-in-water problem and that it was

mishandled, Plaintiff simply asserts that "he was not in any way

involved in finding a resolution . . .       [to the] lead in water"

problem.   Dixit Dep. 77-78.

     At the time of the lead-in-water crisis, the executives

above Plaintiff all certainly believed that it was part of

Plaintiff’s job responsibility to handle the problem.        Smolarz

Depo. 68-69.   In a September 10, 2002, letter CEO Russo told

Norton that Plaintiff would be addressing her concerns about the

alleged elevated lead levels in the school system’s water

fountains and that if she had further concerns she should contact

Plaintiff.   Dixit Dep., Ex. 10.    In an October 21, 2002,

memorandum CEO Russo informed academic officers and principles

that the Department of Facilities "is the primary responder for

all concerns regarding water quality issues" and that the

department would be determining the number of bottled water

fountains placed in each school.       Dixit Dep., Ex. 11.   In

addition, Joanne Dull, a representative of the Baltimore City

                                   8
     Case 1:03-cv-03346-WMN Document 44 Filed 11/10/05 Page 9 of 15



Health Department, stated that she believed Dixit and Elam were

the two representatives of the school system dealing with the

lead-in-water problem.    Dull Dep. 22, 25-26.

     Furthermore, Plaintiff’s position that he was not

responsible for dealing with the lead water problem is untenable

and unreasonable in light of the actions taken by Plaintiff

during the lead water crisis.     According to the Agendas for

Facilities and Capital Budget Committee meetings held on

September 23, 2002, and January 27, 2003, Plaintiff was the

speaker that discussed lead-in-water.      Dixit Dep., Exs. 15, 16.

The minutes from the January 27, 2003, Facilities and Capital

Budget Committee meeting, show that Plaintiff and Elam addressed

the committee in reference to the lead-in-water problem.         Dixit

Dep., Ex. 2.   At that meeting,

       [Plaintiff] attempted to clarify two
       particular concerns regarding the lead-in-
       water presentation: 1) where water does not
       exist, or 2) where there are insufficient
       drinking fountains. [Plaintiff] further
       stated that Facilities staff is presently
       determining the number of water fountains,
       the number of needed water coolers, and where
       they should be placed in all schools.
       [Plaintiff] indicated that between 14-150
       schools may require bottled water; the
       department will provide additional fountains
       in remaining schools.

Id. (emphasis added).    It is remarkable that Plaintiff now

argues that he was not responsible for the lead-in-water

problem when he, as Director of Facilities, explicitly

described to the school board committee how facilities staff

was addressing the lead-in-water problem.       Id.   In a


                                   9
        Case 1:03-cv-03346-WMN Document 44 Filed 11/10/05 Page 10 of 15



subsequent meeting of the same committee held on February

24, 2003, Plaintiff and Elam gave a presentation on the

lead-in-water problems, they discussed the history of the

crisis and their strategy for remedying the lead problem.

Dixit Dep., Ex. 17.       In addition, to the facility committee

meetings, Plaintiff meet with COO Smolarz and Elam to

discuss how to address the lead-in-water issue.           Dixit Aff.

¶ 16.     Plaintiff also attended a number of other meetings to

discuss the lead-in-water problem, including meetings at the

Baltimore City Health Department.          Dixit Aff. ¶ 19; Dixit

Dep. 106; Elam Dep. 24.

     Plaintiff also sent a number of letters illustrating

his involvement in and responsibility for resolving the

lead-in-water problem.       On November 4, 2002, Plaintiff sent

a letter to a company that did water testing requesting an

assessment of lead in the water; the same company had done

an assessment of the school system’s water in 1992.            Dixit

Dep., Ex. 12.      Also Plaintiff responded to the CEO of the

Coalition to End Childhood Lead Poisoning on November 4,

2002, stating that, "I look forward to working with you and

your staff in reducing the exposure to our children to the

hazards of lead. . . .        I hope that I will be able to call

on your organization to assist with intervention strategies

as we move forward in our process."          Dixit Dep., Ex. 13.

Plaintiff wrote another letter to Ronald Cuffie, the

Assistant Commissioner of the Division of Environmental


                                      10
     Case 1:03-cv-03346-WMN Document 44 Filed 11/10/05 Page 11 of 15



Health, on January 10, 2003.     Dixit Dep., Ex. 14.     The

subject of the letter was "BCPSS Lead in Water Issues" and

in the text of the letter Plaintiff noted a number of

procedures that were "implemented to reduce the exposure to

the elevated lead levels in drinking water fountains."

Dixit Dep., Ex. 14.     He also discussed the proposal to

conduct a project to sample fountains for elevated lead-in-

water at the schools’ facilities, and provided his contact

information in case any additional information was desired.

Dixit Dep., Ex. 14.

     In explaining how Plaintiff could have taken the above

actions and still argue that he had no responsibility over

the lead-in-water problem, Plaintiff asserts that in all of

the above situations he merely did what he was told to do by

his superiors and that he was just trying to help Elam.

Dixit Dep. 85-100.    There is no evidence that Plaintiff ever

objected to handling lead-in-water problems or disclaimed

responsibility for the problems prior to filing this suit.

During the facility committee meetings Plaintiff did not

disclaim responsibility when criticized by the board members

for his inaction,5 and the only reason he offers for not

doing such is that he was not asked.      Dixit Dep. 111.      When

asked why he did not correct his superiors understanding


     5
       During the February 24, 2003 committee meeting, Dull
expressed her frustration with the facility management team for
constantly missing deadlines and being unable to resolve the
lead-in-water problem. Dixit Dep., Ex. 19.

                                   11
      Case 1:03-cv-03346-WMN Document 44 Filed 11/10/05 Page 12 of 15



that he was responsible for lead-in-water issues, he stated

that "he knew they were discriminating against [him] and

[he] had no authority to correct their action."         Dixit Dep.

55.

      There is no dispute that Elam, as director of health

and safety, was responsible for handling the lead-in-water

issues.    There is a dispute, however, as to whether Elam

reported to Dixit.     Plaintiff and Elam both contend that

Elam did not report directly to Plaintiff, but reported to

COO Smolarz.    Dixit Dep. 52, 65-69; Elam Dep. 10.       COO

Smolarz, however, states that Elam reported directly to

Dixit.    Smolarz Dep. 41.    At a February 2002 Facilities and

Capital Budget Meeting, COO Smolarz presented the committee

with a revised organizational matrix depicting facilities

management.    He stated that Plaintiff "directs facilities

management, which encompasses . . . health and safety, and

custodial operations/grounds maintenance services."          Dixit

Dep., Ex. 4.

      Although it is unclear as to where the health and

safety department fits into the organizational structure of

the school system, and to whom Elam reported, Dixit Dep. 52,

54; Elam Dep. 9-10, 43, 101-102, these facts are ultimately

immaterial.    No matter whom Elam reported to, it is

undisputed that Plaintiff and Elam worked together on the

lead-in-water issue.     Elam Dep. 64.    Although Plaintiff

claims that Elam "was a one-man band," Dixit Dep. 55, it is


                                    12
     Case 1:03-cv-03346-WMN Document 44 Filed 11/10/05 Page 13 of 15

not disputed that the two "consulted" on the lead issues,

and Plaintiff gave suggestions to Elam as to how to handle

the problems.    Elam Dep. 44-45.    Because lead-in-water was a

"facilities related problem," Elam copied Plaintiff on all

lead-in-water correspondence, and Plaintiff and Elam had

one-on-one meetings to discuss the various issues pertaining

to the lead problem.    Elam Dep. 58, 60.     Plaintiff does not

deny such interaction with Elam.

     In his deposition, Plaintiff attempts to refute the

Defendant’s assertion that the lead-in-water problem was a

responsibility of the Facilities Management team, by arguing

that the problem was not delegated to any department since

there were no funds available to deal with the crisis.

Dixit Dep. 73-76.    Plaintiff does not offer any evidence to

support this position, and the inconsistency of the

statement is further illustrated by Plaintiff’s statement

later on in his deposition that, "we [the facilities

department] were already turning all the fountains [off] and

putting water coolers in the room" in response to the lead

water problem.    Dixit Dep. 110-111.

     Plaintiff has offered no evidence, other than his own

testimony, that he, as the Director of Facilities, was not

responsible for the lead-in-water problems.       As evidenced by

his previously discussed actions, it is clear that he

handled and was responsible, even if only partly

responsible, for the lead-in-water problem.       Therefore,

because Plaintiff has failed to show that he was performing

                                    13
        Case 1:03-cv-03346-WMN Document 44 Filed 11/10/05 Page 14 of 15

his job satisfactorily, he has failed to establish any

inference of race discrimination under the McDonnell Douglas

test.     Plaintiff has not established a prima facie case of

discriminatory discharge based on race or national origin,

and Defendant’s motion for Summary Judgment will be granted.

     Assuming that Plaintiff did establish a prima facie

case of discrimination, Defendant has provided a legitimate

non-discriminatory basis for Plaintiff’s termination.            An

employer’s demonstration of a legitimate, non-discriminatory

reason for the employee’s discharge may rebut a plaintiff’s

prima facie case of discrimination.          Williams v.
Cerberonics, Inc., 871 F.2d 452, 456 (4th Cir. 1989).

Defendant’s reason for Plaintiff’s termination - his

failure to adequately respond to the lead-in-water crisis -

serves as such a legitimate non-discriminatory basis for

discharge.

     In addition, Plaintiff could not illustrate that

Defendant’s reason for termination was pretextual.           If the

prima facie case was established, Plaintiff would have to

prove by a preponderance of the evidence that Defendant’s

explanation for Plaintiff’s termination was pretextual in

order to avoid summary judgment.           Williams, 871 F.2d at 456.
“To survive summary judgment, the plaintiff must show that

the defendant's non-discriminatory explanation is ‘unworthy

of credence’ or offer ‘other forms of circumstantial

evidence sufficiently probative’ of discrimination or


                                      14
      Case 1:03-cv-03346-WMN Document 44 Filed 11/10/05 Page 15 of 15

retaliation.”      Kess v. Municipal Employees Credit Union of

Baltimore, Inc., 319 F. Supp.2d 637, 644 (D. Md. 2004)

(quoting Mereish v. Walker, 359 F.3d 330, 336 (4th Cir.

2004)).   For the reasons previously discussed, Plaintiff has

failed to show that Defendant’s explanation for termination

is not credible, nor has Plaintiff offered other

circumstantial evidence illustrating discrimination.6
IV.   CONCLUSION

      For these reasons, Defendant’s motion for summary judgment

will be granted.     A separate order consistent with the reasoning

of this Memorandum will follow.

                                                /s/

                                  William M. Nickerson
                                  Senior United States District Judge

Dated: November 10, 2005




      6
        Plaintiff argues that Defendant terminated him as a
scapegoat in order to satisfy the public outcry over the lead-in-
water crisis. Dixit Dep. 139-140. Even if this is an accurate
statement it fails to show discrimination. Defendant is entitled
to make its own business judgments and "Title VII is not a
vehicle for substituting the judgment of a court for that of the
employer." Jiminez v. Mary Washington College, 57 F.3d 369, 377
(4th Cir. 1995).
      Further, when seeking new employment with the County Board
of Education Plaintiff stated that he was "terminated as a ‘Fall
Guy’ for much publicized lead in water issues." Dixit Dep. 138-
141, Ex. 29. While disclaiming responsibility for the
mishandling of the lead-in-water problems, not until this suit
did Plaintiff suggest that he was terminated for discriminatory
reasons. Dixit Dep., Ex. 29

                                    15
